  Case 1:25-cv-01844-LAK                  Documentu.s.
                                                    1-1    Filed of
                                                       Depanmeat 03/05/25
                                                                    Justice             Page 1 of 5
                                                     Immigration and NaturalizAtion Service


                                                                                 HQCOU 50/1.1

Office of the General Counsel                           425 I $ll"Mt NW
                                                        WQ.lhbtgton.. DC 20536



                                                           APR 2 I am
   MEMORANDlJ¥ FOR Regional Counsel



                    ~
           I \    ~~butiOn to District and Sector CollPSel
   FROM:        j~\   Cooper
               Fr~' U neraf Counsel

   SUBJECT:            Detention and Release during the Removal Period of Aliens Granted
                       Withholding or Deferral of Removal



          Section 241{aXl) of thelmmigration and Nationality Act (INA) establishes a %-day
   "removal period" that generally commences on the date a removal order becomes
   administratively final. Certain aliens are subject to mandatory detention by the INS during this
   removal period. This memorandum addresses the authority of the Immigration and
   Naturalization Service (INS) under certain circumstances to release an alien who has a final
   order of removal)" and who has also been granted withholding or deferral of remova1 before the
                                                                                           9


   90 day removal period has expired_

           Under INA section 241 (a){2), once the removal period has begun, the INS may - but is
   not required to - detain a non-criminal alien until removal is effected. Section 241 (a)(2)
   generally requires the INS to detain all terrorists, all aggravated felons. and most other criminal
   aliens during the removal period and during any extension of the removal period. Please see
   HQCOU's March 16~ 2000 memorandum entitled ~ Detention and Release of Aliens with Final
   Orders ofRemoval ti for a more detailed interpretation of these provisions. Under certain
   circumstances~ however. there is authority for the INS to release an alien who has been finally
   granted withholding or deferral of removal when the INS is not actively pursuing the alien's
   removal, even though the alien would otherwise be subject to mandatory detention.

           An alien who has been finally granted withholding of removal to a specific country under
   INA section 241 (b)(3), or who has been granted either withholding or deferral of removal to a
   specific COWltry under the Convention Against Torture, remains          an
                                                                      alien who is subject to a final

   Memorandum for Regional Counsel
   Page 2


   order of removal;-6enerally. the INS may execute that order to any country other than the
   COWltry to which removal has been withheld or deferred. Thus, if the INS is actively pursuing
   removal to an alternate country, there is no authority dl.mng the removal period to release an
   alien who is subject to mandatory detention.. The purpose of the removal period, however, is to
   facilitate the execution of the removal order. It: therefore, an alien has been finally granted
   withholding or deferral of removal and the INS is not actively pursuing the alients removal to an
   alternate country, tile INS has authority to consider the release of such an alien during the
   removal period. This means only that there is authority to consider release of such aliens; it does
   not mandate their release. The deci~on whether or not to release such an alien must take into
   consideration all appropriate factors. including Whether the alien poses a threat to the community
   or flight risk.
                                                    1
Case 1:25-cv-01844-LAK   Document 1-1   Filed 03/05/25   Page 2 of 5




                               2
Case 1:25-cv-01844-LAK   Document 1-1   Filed 03/05/25   Page 3 of 5




                               3
       Case 1:25-cv-01844-LAK          Document 1-1       Filed 03/05/25      Page 4 of 5



From:                  ICE Office of the Director
Sent:                 Mon, 7 Jun 2021 13:41:47 +0000
To:                    Undisclosed recipients:
Subject:               REMINDER: Detention Policy Where an Immigration Judge has Granted Asylum,
Withholding of Removal, or Convention Against Torture Protection, and DHS has Appealed




A Message from Tae D. Johnson, Acting Director, U.S. Immigration and
Customs Enforcement

To All ICE Employees
June 04, 2021

REMINDER: Detention Policy Where an Immigration Judge has Granted
Asylum, Withholding of Removal, or Convention Against Torture Protection,
and DHS has Appealed

On February 9, 2004, then-Assistant Secretary Michael J. Garcia issued U.S. Immigration and
Customs Enforcement (ICE) Directive 16004.1, Detention Policy Where an Immigration Judge
has Granted Asylum and ICE has Appealed, establishing ICE policy favoring a noncitizen's
release in instances in which ICE has appealed the decision of an immigration judge granting
asylum, withholding of removal, or protection pursuant to the regulations implementing the
Convention Against Torture (CAT protection). I am issuing this reminder to ensure that ICE
personnel remain cognizant of and continue to follow this Directive, which supports our
commitment to ensuring that our limited detention resources are utilized appropriately.

Pursuant to this longstanding policy, absent exceptional circumstances, such as when the
noncitizen presents a national security threat or a danger to the community, or any legal
requirement to detain, noncitizens granted asylum, withholding of removal, or CAT
protection by an immigration judge should be released pending the outcome of any DHS
appeal of that decision.
In considering whether exceptional circumstances exist, prior convictions alone do not
necessarily indicate a public safety threat or danger to the community. Rather, the
individual facts and circumstances of the case, including extensiveness, seriousness, and
recency of the criminal activity, along with any evidence of rehabilitation, should be
considered in making such determination.
Consistent with Office of the Principal Legal Advisor (OPLA) policy implementing ICE
Directive 16004.1, OPLA attorneys are reminded that, in any detained case in which a noncitizen
is granted asylum, withholding of removal, or CAT protection but DHS intends to appeal,
Enforcement and Removal Operations (ERO) must be immediately advised of the protection
grant so that the noncitizen may be immediately considered for release.

In instances in which a bond was set but not posted by the noncitizen, ERO should conduct a
custody redetermination; additionally, "arriving aliens" should be considered for parole. Field




                                                4
       Case 1:25-cv-01844-LAK          Document 1-1       Filed 03/05/25      Page 5 of 5




Office Director approval is required to continue detention for those affected noncitizens, and
such decisions must be made in consultation with the local OPLA Field Location and
appropriately documented.

Questions regarding ICE policy on this issue should be directed to the Office of Policy and
Planning at ICEOfficeofPolicy@ice.dhs.gov through the chain of command and Directorate or
Program Office leadership. Please note, however, that case-specific questions should be
addressed by Directorate or Program Office leadership.


Tae D. Johnson
Acting Director
U.S. Immigration and Customs Enforcement




                                                5
